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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


  ACCURACY IN MEDIA, INC., et al.,

                        Plaintiffs,

                 v.                                    Civil Action No. 14-1589 (EGS/DAR)

  DEPARTMENT OF DEFENSE, et al.,

                        Defendants.


                       NOTICE OF SUBSTITUTION OF COUNSEL

       To the Clerk of Court and all Parties of Record:

       Please take notice that Joshua C. Abbuhl will substitute as counsel of record for all

Defendants in place of attorneys Tamra Moore and Megan Crowley. The Clerk of Court is

requested to substitute the appearance of Joshua Abbuhl for the appearances of Tamra Moore

and Megan Crowley.



DATED: August 28, 2020                               Respectfully submitted,

                                                     ETHAN P. DAVIS
                                                     Acting Assistant Attorney General
                                                     Civil Division

                                                     ELIZABETH J. SHAPIRO
                                                     Deputy Director
                                                     Federal Programs Branch

                                                     /s/ Joshua C. Abbuhl
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